                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


 UNITED STATES OF AMERICA                     )
                                              )
 vs.                                          )   CASE NO. 3:13-CR-161-PLR-HBG
                                              )
 FERNANDO AMAYO GONZALEZ                      )



                                         ORDER



          On October 29, 2014, the Honorable H. Bruce Guyton, United States Magistrate

 Judge, filed an 11-page Report and Recommendation (R&R) [R. 519], in which he

 recommended that the matter of the ethical violation by Attorney Casey Caldwell be

 deemed moot, and that the $7,500 presently held in the Court’s registry be paid into the

 CJA fund to be used to compensate appointed defense counsel.

          There being no timely objections to the R&R, see 28 U.S.C. § 636(b)(1), and the

 Court being in complete agreement with the Magistrate Judge, the R&R is hereby

 ACCEPTED IN WHOLE, and incorporated into this Order. The following action is

 taken:

          1.    The Court agrees with Judge Guyton’s finding that there is not enough

 evidence to find that Attorney Casey Caldwell knowingly filed a document falsely

 representing another attorney’s endorsement. Additionally, Caldwell has represented to

 the Court that he is leaving the practice of law. Therefore, the court finds the potential

 ethical violation by Attorney Casey Caldwell is MOOT.



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       2.       The $7,500 retainer deposited into the Court’s registry, shall be paid into

 the Court’s CJA fund to be used towards payment of defendant’s appointed counsel.

       IT IS SO ORDERED.

       Enter:



                                                  ____________________________________
                                                  UNITED STATES DISTRICT JUDGE




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